Case 1:23-cr-00239-CKK Document 32-9 Filed 02/18/22 Page 1 of 3




                EXHIBIT 9




                              10
        Case 1:23-cr-00239-CKK Document 32-9 Filed 02/18/22 Page 2 of 3




February 12, 2022


Chief Justice Beryl A. Howell
United States District Court
District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C., 20001


Dear Chief Justice Howell,

       I am Heather Morgan’s mother, Gale Morgan. I am a retired credentialed public school
teacher-librarian, with much of my career spent at the high school level. Heather is our only child.

        My husband, Lee Morgan (Heather’s father), and I were staying with our daughter and Ilya
Lichtenstein when the police came and arrested them. We had been there to help with Heather’s
surgery recovery the week before. I have had similar surgery and know the recovery can be
challenging. We attended the hearing for bail and were asked if we would be willing to put up our
home as collateral and sign a 3 million dollar bond to ensure she was not a flight risk. We
immediately agreed to do so because we know she is not a flight risk. Heather knows that would
devastate us financially for the rest of our lives. Even more so, she knows that it would devastate
us emotionally as well. Heather, her father, and I are very close. Heather and I often do different
projects together, be it art or learning to put up wallpaper. We have a great many interests we
share. Most recently, I’ve been teaching her to sew. Last year, once I was fully vaccinated, I came
and visited her 6 times, a couple more times than most years, but we had missed seeing each in
person after the pandemic. We talk on the phone often and we help each other see the world
through our different experiences and ages.

        I mentioned earlier that my husband and I were there to help care for her after her
surgery. Heather has done the same for me. A few years ago when I was diagnosed with breast
cancer, she insisted on being there to help. And when she was in 11 and I had a life-threatening
kidney stone, she was the one who called her father and told him he needed to come home right
away to take me to the hospital. She makes sure she is there for us if we need her.

        I know a number of Heather’s friends, as she asks me to meet them and often invites them
over when I visit. Heather has the gift of bringing people together, so many of her friends become
friends with each other. I have had many of her friends reach out to me after the heavy media
coverage asking if she is okay and wanting to know what they can do to help. These
strong connections matter to her.

        When Heather was 4, we moved from where we were living so that she could be close to
grandparents and other extended family as she was growing up. She spent almost as much time at
my parents’ house as ours. My father has since passed away but she remains very close to my
mother, who baked her favorite persimmon cookies to send with us when we came to help Heather
after surgery.
         Case 1:23-cr-00239-CKK Document 32-9 Filed 02/18/22 Page 3 of 3




        Heather’s ties to the people who love and care for her are too strong for her to be a flight
risk.

Sincerely,



Gale Morgan
Heather Morgan’s mother
